The defendant, the administrator, has not distinguished in the inventory the good from the bad debts. We must take if they are all good debts, but you may discharge him (speaking to Mr. Taylor) by proving suits for them, and that the debtors were unable to pay. The constable who had served the warrants, and had the executions in his hands, was now dead, and Mr. Taylor could not prove insolvency in the debtors, and his client was charged with all the debts mentioned in the inventory. The administrator, in returning his inventory, should have said these debts are separate, and I allow myself to be charged with them when recovered, these are desperate; and then he would not have been charged with them unless recovered; but when he gives an account of debts in his inventory, and says nothing about them, it is an admission in law that the debts may be had by demanding them (482) of the debtor.